Case 8:06-cr-00253-JDW-MAP Document 43 Filed 10/17/06 Page 1 of 1 PageID 113




                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION

    UNITED STATES OF AMERICA,

              Plaintiff,

    v.                                                 Case No. 8:06-cr-253-T-27MAP

    LATRALE DEEVON DUNBAR,

              Defendant.
                                              /
                                                     ORDER

              THIS CAUSE is before the court on Defendant’s Emergency Motion for

    Temporary Release to Allow Defendant to be Present for Birth of Son Who Has Been

    Diagnosed with Significant Congenital Heart Defect (Doc. 40). By his motion the

    Defendant seeks an order permitting his temporary release from custody to attend the birth of

    his child who has been diagnosed with a significant heart defect. The motion reflects that it is

    opposed by the government. On April 13, 2006, the court entered an order directing that the

    Defendant be detained pending further proceedings as a danger to the community. Although

    the court is entirely sympathetic to Mr. Dunbar’s circumstances, findings made in the

    detention order suggest that there are still no conditions that would assure that he is not a

    danger to the community. Regrettably, the motion is DENIED.

                    Done and Ordered in Tampa, Florida this 16th day of October.




    Copies furnished to:
    Ashley Moody, Assistant United States Attorney
    Adam Allen, Attorney for Defendant
